                   Case 23-11069-CTG                   Doc 1317          Filed 12/08/23           Page 1 of 2



                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

                                                                              )
    In re:                                                                    )     Chapter 11
                                                                              )
    YELLOW CORPORATION, et al.,1                                              )     Case No. 23-11069 (CTG)
                                                                              )     (Jointly Administered)
                                 Debtors.                                     )     Re: Docket No. 1285
                                                                              )

          NOTICE OF FILING OF ASSET PURCHASE AGREEMENT DATED AS OF
      DECEMBER 7, 2023 BETWEEN THE DEBTORS AND ROYAL GROUP HOLDINGS INC.

        PLEASE TAKE NOTICE that, on September 15, 2023 the Court entered that certain Order (I)(A)
Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B) Scheduling Auctions and
Approving the Form and Manner of Notice Thereof; (C) Approving Assumption and Assignment Procedures
(D) Scheduling Sale Hearings and Approving the Form and Manner of Notice Thereof; (II)(A) Approving
the Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances and (B)
Approving the Assumption and Assignment of Executory Contracts and Unexpired Lease; and (III)
Granting Related Relief [Docket No. 575] (the “Bidding Procedures Order).2

         PLEASE TAKE FURTHER NOTICE that the Debtors commenced the Auction for Real
Property Assets on November 28, 2023 and completed bidding for those certain Real Property Assets set
forth in the Notice of Winning Bidders and, if Applicable, Back-up Bidders with Respect to Certain of the
Debtors’ Real Property Assets [Docket No. 1268] (the “Notice of Winning Bidders”) filed on December 4,
2023, including, among others, those Real Property Assets which are the subject of the Royal Asset
Purchase Agreement (defined below).

        PLEASE TAKE FURTHER NOTICE that, on December 6, 2023, the Debtors filed the proposed
Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of Certain
Real Property Assets of the Debtors Free and Clear of Liens, Claims, Interests, and Encumbrances, in Each
Case Pursuant to the Applicable Asset Purchase Agreement; (III) Approving the Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases in Connection Therewith, in Each Case
as Applicable Pursuant to the Applicable Asset Purchase Agreement; and (IV) Granting Related Relief
[Docket No. 1285] seeking authorization, among other things, to enter into the Royal Asset Purchase
Agreement.

       PLEASE TAKE FURTHER NOTICE that attached at Exhibit A hereto is a true and correct
copy of that certain Asset Purchase Agreement Dated as of December 7, 2023 Between Royal Group
Holdings Inc., as Purchaser, and Yellow Corporation and its Subsidiaries Named Therein, as Sellers (as
may be amended, modified, or supplemented from time to time, including all exhibits and schedules thereto,
the “Royal Asset Purchase Agreement”).



1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
       noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and the
       Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
2      Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the Bidding Procedures
       Order or the Notice of Winning Bidders, as applicable.
             Case 23-11069-CTG   Doc 1317   Filed 12/08/23    Page 2 of 2



Dated: December 8, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)     Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)     David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)        Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)          KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP       KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor     300 North LaSalle
P.O. Box 8705                           Chicago, Illinois 60654
Wilmington, Delaware 19801              Telephone:       (312) 862-2000
Telephone:      (302) 652-4100          Facsimile:       (312) 862-2200
Facsimile:      (302) 652-4400          Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                       david.seligman@kirkland.com
                tcairns@pszjlaw.com                      whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com      -and-

                                        Allyson B. Smith (admitted pro hac vice)
                                        KIRKLAND & ELLIS LLP
                                        KIRKLAND & ELLIS INTERNATIONAL LLP
                                        601 Lexington Avenue
                                        New York, New York 10022
                                        Telephone:     (212) 446-4800
                                        Facsimile:     (212) 446-4900
                                        Email:         allyson.smith@kirkland.com

                                        Co-Counsel for the Debtors and Debtors in
                                        Possession
